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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                      )   Chapter 11
In re:                                                )
                                                      )   Case No. 20-34215 (MI)
ARENA ENERGY, LP, et al.,1                            )
                                                      )   (Jointly Administered)
                                   Debtors.           )
                                                      )
ARENA ENERGY, LP,                                     )
                                                      )
         Plaintiff,                                   )
                                                      )
         v.                                           )   Adv. Proc. No. 20-_________
                                                      )
W&T OFFSHORE, INC. and 31 Group, LLC,                 )
                                                      )
         Defendants.                                  )

                     Arena Energy, LP’s Verified Original Complaint and
 Application for Temporary Restraining Order, Preliminary Injunction, and Permanent Injunction

         1.           Plaintiff Arena Energy, LP (“Arena”), a debtor and debtor in possession in the

 above-captioned cases, brings this Original Complaint against defendants 31 Group, LLC (“31

 Group”) and W&T Offshore, Inc. (“W&T”) for breach of confidentiality agreement, tortious

 interference with contract, and conversion of Arena’s confidential information.

         2.           Arena and 31 Group entered into a May 22, 2020 Confidentiality Agreement, which

 31 Group breached by sharing Arena’s confidential information with W&T, one of Arena’s direct

 competitors. W&T sought access to Arena’s confidential information but W&T itself refused to

 sign a substantially similar Confidentiality Agreement with Arena and, instead, W&T tortiously

 interfered with the Arena/31 Group Confidentiality Agreement, secretly obtained improper and



 1
   The debtors in these chapter 11 cases, along with the last four digits of each debtor’s federal tax
 identification number, are: Arena Energy, LP (1436); Arena Energy 2020 GP, LLC (N/A); Arena
 Energy GP, LLC (7454); Arena Exploration, LLC (1947); Sagamore Hill Holdings, LP (8266);
 and Valiant Energy, L.L.C. (7184). The location of the debtors’ service address is: 2103 Research
 Forest Drive, Suite 400, The Woodlands, Texas 77380.

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unauthorized access to Arena’s confidential information, and converted Arena’s property. W&T

has refused to return and refused to destroy its improperly made copies of Arena’s confidential

information. Arena seeks a TRO to address W&T’s wrongful and tortious conduct, the irreparable

harm that W&T caused and continues to cause, and to restore the last peaceable status quo before

W&T engaged in its misconduct.

                                               I.
                                             Parties

       3.      Arena Energy, LP is a Delaware limited partnership and has its principal office at

2103 Research Forest Drive, Suite 400, The Woodlands, Texas 77380.

       4.      W&T is a Texas corporation, has its principal place of business in Houston, Texas,

and may be served with process by serving its registered agent in the State of Texas, CT

Corporation System, 1021 Main Street, Suite 1150, Houston, TX 77002. Arena also will serve a

copy of its filings on W&T’s counsel at White & Case LLP and at Locke Lord LLP.

       5.      31 Group is a Delaware corporation, has its principal place of business in Rockwall,

Texas, and may be served with process by serving it in the State of Texas at 3021 Ridge Rd., Suite

A208, Rockwall, TX 75032. Arena also will serve a copy of its filings by email on 31 Group’s

president Ken Goggans at energy@31grp.com.

                                                II.
                                     Jurisdiction and Venue

       6.      The Court has subject matter jurisdiction over this adversary proceeding under

28 U.S.C. § 1334(b). This adversary proceeding concerns debtor Arena’s confidential information,

which Arena provided to 31 Group under the Confidentiality Agreement as part of a sales process

leading to this bankruptcy proceeding. 31 Group breached the Confidentiality Agreement and

provided the confidential information to W&T. W&T refused (on multiple occasions, including

after the commencement of these cases) to relinquish the confidential information to Arena in

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response to Arena’s demand and refused to sign a confidentiality agreement to protect it.

31 Group’s breach of the Confidentiality Agreement and W&T’s conversion of Arena’s

confidential information relates to this title 11 proceeding because W&T is using the confidential

information to bid on Arena’s assets, and W&T’s wrongful use of the confidential information for

competitive purposes could diminish the value of the estate.

       7.      The Court has authority to enter a final judgment in this core proceeding under 28

U.S.C § 157.

       8.      Venue is proper in this Court under 28 U.S.C. §§ 1391(b) and 1409. 31 Group

agreed in Confidentiality Agreement § 19 that “Venue for any dispute between the Parties shall

exclusively rest with any state or federal court located in Harris County, Texas.” Ex. 1 at 5.

       9.      Arena confirms its consent, pursuant to Bankruptcy Rule 7008, to the entry of a

final judgment by the Court in connection with this Complaint.

       10.     Arena seeks relief pursuant to §§ 105 and 542(a) of the Bankruptcy Code and

Bankruptcy Rules 7001(1), 7001(7), and 7065.

                                                III.
                                               Facts

A.     Arena Energy, LP’s History in the Gulf of Mexico and Competition with W&T

       11.     In 1999, Todd Stone, Michael Minarovic, and Bryan Nelson founded Arena. The

three founding members had worked for years as geological and petroleum engineers for various

oil and gas exploration and production companies operating in the Gulf of Mexico and sought to

build their own company to pursue opportunities the major oil companies failed to recognize.

       12.     Over the next 20 years, Arena became a tremendous success story. Arena used

cutting edge geological and geophysical mapping and petroleum engineering, proprietary

exploration and drilling methods, and unique data to identify promising exploration and production


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opportunities in the Gulf of Mexico, often in fields previously explored but left behind by the

major oil companies. Over the past five years, Arena has been among the most active drillers in

the Gulf. Of the ~180 wells drilled on the Shelf in the Gulf of Mexico during this time, Arena

drilled ~132 of them.

          13.    W&T has directly and aggressively competed with Arena in the Gulf for years. Like

Arena, W&T actively explores and produces in the Gulf of Mexico. Over the last five years, W&T

has drilled ~14 wells on the Shelf in the Gulf and, like Arena, is among the most active drillers in

the Gulf.

          14.    W&T often competes with Arena in areas where Arena drills. W&T has sought to

purchase assets from Arena, some of which Arena still owns. Arena has purchased assets that

W&T has relinquished to obtain drilling opportunities that Arena intended to pursue that W&T

may not have known about.

B.        Initiation of the Evercore sales process and creation of the virtual data room

          15.    In 2020, the combination of Arena’s capital structure, the COVID-19 global

pandemic and economic recession, and the fall in oil prices sparked by the Russia-Saudi price war

and other factors forced Arena to consider a potential sale of its assets and, potentially,

bankruptcy.2 Arena engaged Evercore Group L.L.C. to initiate a sales process to market Arena’s

assets.




2
 As described in other pleadings filed in connection with these chapter 11 cases, in light of the
possibility that certain insiders of Arena may submit a bid for Arena’s assets, the Transaction
Committee of the Board of Directors of Arena Energy GP, LLC (which consists of two
disinterested, independent directors) was delegated the sole and exclusive ability to conduct
Arena’s marketing process. Management (including any management affiliated with the Plan
Sponsor San Juan Offshore, LLC) did not direct or have any role in the Transaction Committee’s
sale process. See Horton Decl. para. 23, Dkt. # 17, In re Arena Energy, LP et al., No. 20:34215,
In the United States Bankruptcy Court for the Southern District of Texas.

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       16.     To ensure that potential bidders had a comprehensive understanding of Arena’s

assets, Arena uploaded a vast amount of confidential and proprietary information to a virtual data

room, including Arena’s most competitively sensitive information and data. A list of all documents

and data in the data room is attached as Exhibit 8. The virtual data room included:

                  Geological and geophysical information,

                  Well logs, engineering, drilling, and wellbore information and reports,

                  Materials reflecting restricted and highly valuable seismic data,

                  Drilling strategy and methodology,

                  Drilling results,

                  Cashflow forecasts,

                  Reserve studies,

                  Maps,

                  Field studies,

                  Financial and tax information and analyses,

                  Leases, licenses, concessions, permits and contracts,

                  Production, price, and reserves information, and

                  Agreements for production transportation, treating, processing, and marketing
                   regarding Arena’s properties

       17.     The virtual data room’s highly sensitive competitive information includes a

confidential memorandum that lays out Arena’s drilling strategy. This is Arena’s secret sauce, its

Coca Cola® recipe, the key strategy that gives Arena its competitive advantage. Combined with

the virtual data room’s information about where and how Arena has scored some of its biggest

successes in the Gulf, this confidential memorandum would provide Arena’s competitors (like

W&T) with a blueprint to imitate Arena’s unique and Gulf-leading drilling strategy.

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        18.        Over the past two decades and with the input of some of the finest geologists and

developers in the Gulf, Arena’s founding partners and geologists developed Arena’s methodology

and the tools to implement it. Arena has spent years and millions of dollars creating its strategy,

which allowed it to become among the most successful Shelf drillers in the Gulf. Arena has

remained a private company in part to protect this very information from disclosure. Armed with

Arena’s strategic memorandum and information about its results, a competitor could narrow

Arena’s competitive advantage and shortcut years of work and millions of dollars in development

work.

        19.        Arena’s virtual data room also contains documents reflecting critically sensitive

seismic lines and other derivative data, including subsurface and isopach maps. Arena is one of

only a few companies with access to OGO and NESI seismic data, which cost millions of dollars

and took years to acquire. Arena devoted substantial time and money to reprocess seismic data and

focus and refine it. This confidential and proprietary information allows Arena to target plays in

the Gulf that other oil and gas producers cannot find with less sophisticated data. It would be

extremely difficult for Arena’s competitors to replicate Arena’s work without the information in

the virtual data room, without significant expenditures of time and money. Even with the

expenditures of time and money, there is no guarantee the competitors would get the same or

similar results.

        20.        If Arena’s competitors like W&T could acquire and utilize Arena’s reprocessed

OGO and NESI seismic data without the critical restrictions imposed by the Confidentiality

Agreement that W&T refused to sign then Arena’s competitive advantage would evaporate.

Competitors like W&T would gain unauthorized and improper critical information they would not

otherwise have about the fields and locations that Arena has targeted, where Arena sees real



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potential, and the reasons why. Such competitors would then be in a position to use Arena’s own

information to bid against Arena and try to outbid Arena or force Arena to bid much higher to

secure properties that Arena worked (and spent millions) to discover. Other oil and gas exploration

companies often relinquish Gulf leases which then become available for Arena, and the highly

confidential and proprietary information in Arena’s virtual data room gives Arena a competitive

edge in acquiring or leasing such properties. It is difficult and perhaps impossible accurately to

quantify the harm Arena would suffer from a competitor gaining unrestricted access to the OGO

and NESI reprocessed seismic and other information—and will suffer as a result of W&T’s

improper access—and from the ripple effects from competitors narrowing or eliminating Arena’s

informational advantage. The seismic data has significant value to third parties, who would

otherwise have to expend considerable resources leasing and reprocessing the data. A competitor

could not acquire the same data. It would have to spend the time and dedicate resources, including

the resources of Arena’s own geophysicists, to produce a similar work product. This work product

is specifically proprietary to Arena.

       21.     Arena’s virtual data room is a competitor’s dream, and allowing competitors access

to the data room without a confidentiality agreement could permanently damage Arena. With

access to Arena’s virtual data room and without use and other restrictions, an even marginally

capable competitor would be positioned to generate significant value for itself at Arena’s expense

by exploiting Arena’s information, including Arena’s proprietary methodology, reserve

information, abandonment estimates, contractual information, and seismic data. W&T having

access to the virtual data room without the protections of a confidentiality agreement is particularly

concerning because W&T has previously offered to buy certain properties from Arena. With the

information in the virtual data room, including information about the reserves for these properties,



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W&T will have greater guidance on what Arena’s properties are worth and what nearby properties

could provide similar opportunities.

       22.     That of course is one important reason why Arena—and other similarly situated

sellers—requires would be bidders to sign confidentiality agreements before gaining access to a

data room. Arena and Evercore required any bidder that sought access to the data room to sign a

confidentiality agreement preventing such bidders from using Arena’s confidential information for

any purpose other than bidding on the assets. Twenty potential bidders signed substantially

identical confidentiality agreements here. W&T did not. But W&T improperly gained

unauthorized access anyway. And W&T kept its access secret from Arena (and from Arena’s

financial advisor Evercore).

C.     31 Group initiates a bid process with Arena

       23.     On May 13, 2020, at the direction of Arena, Evercore sent a sales teaser to over 900

potential market participants, advertising the potential sale of Arena Energy, LP’s assets. Ex. 2.

W&T was one of the 900 participants that received the teaser. 31 Group was not.

       24.     Even though 31 Group had not received the May 13 teaser, 31 Group’s president

Ken Goggans contacted Evercore and expressed interest that same day. Ex. 3 at 2. On May 22,

2020, Arena and 31 Group signed their Confidentiality Agreement. Ex. 3 at 1. On May 25, 31

Group gained access to Arena’s virtual data room. On May 26, 31 Group downloaded the entire

virtual data room and, on 13 subsequent occasions through July 17, 31 Group also bulk

downloaded all new documents that Arena placed in the data room.

       25.     31 Group was one of 72 potentially interested parties that communicated with

Evercore, Arena’s advisor. 31 Group was one of 27 that received a draft confidentiality agreement.

And 31 Group was one of 20 that signed substantially identical confidentiality agreements with

Arena and legitimately gained access to Arena’s virtual data room.

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       26.     W&T did not sign a substantially identical confidentiality agreement with Arena,

and as a result W&T was not entitled to access Arena’s data or virtual data room.

       27.     The Confidentiality Agreement that 31 Group signed—like the substantially

identical agreements the other 19 signed—provides in § 1(a) and (b) that 31 Group shall not “use

or allow the use” of the confidential data and information it received or “disclose or allow the

disclosure” of the confidential data and information to “any person.” Confidentiality Agreement

§ 1(e) requires 31 Group to “treat, and cause to be treated” the information received as “strictly

confidential.” Ex. 1 at 1.

       28.     Confidentiality Agreement § 4 specifies that Arena “retains all rights, titles, and

interests” to the confidential information and “at any time when requested in writing” 31 Group

“shall promptly, but in no more than five (5) business days, return” to Arena all confidential

information and destroy any notes and summaries “without retaining any copies thereof.” Section

4 allows Arena to request that 31 Group “promptly provide written certification” to Arena that it

has complied with section 4. Ex. 1 at 2.

D.     W&T refuses to sign a confidentiality agreement

       29.     W&T reached out to Evercore on May 15 to request a copy of the confidentiality

agreement, which its officers referred to throughout the process as an “NDA.” Ex. 4 at 5. Evercore

tried for weeks to get W&T to sign a confidentiality agreement that was substantially identical to

the agreement 31 Group and the 19 other potential bidders signed, but W&T refused.

       30.     On behalf of Arena, Evercore provided W&T the confidentiality agreement on May

15 and asked W&T to send back proposed changes. Id. at 4. W&T did not respond with proposed

changes. It instead demanded additional confidential information to identify the leases at issue. Id.

at 4. Evercore responded that “other parties have agreed to Exhibit A in the NDA” and that once

W&T was in the data room, W&T would “have access to the list of leases.” Id. at 4.

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       31.     Days passed without an agreement on the W&T confidentiality agreement. On May

26, 11 days after Evercore first sent W&T the standard confidentiality agreement, W&T sent

Evercore a watered-down version of confidentiality agreement “that is acceptable to W&T.” Ex.

5 at 1. W&T’s proposal made substantial changes to section 8 of the standard form confidentiality

agreement, which bars potential bidders from speaking with Arena’s contractors, customers,

suppliers, lenders, or vendors regarding Arena without prior consent. W&T struck the word

“lender” from the list of entities with whom W&T could not speak and added the following

sentence to the end of section 8: “Despite anything in this Agreement to the contrary, and for the

avoidance of doubt, Recipient is permitted to contact any creditor of Discloser or its Affiliates and

discuss any aspect of the Confidential Information or Transaction with that creditor and acquire

any portion of the Discloser’s or its Affiliates[’] outstanding debt.” Id. at 20.

       32.     The lender communication accommodation W&T sought in its May 26 draft

confidentiality agreement would have undermined the integrity of Arena’s sales process. No other

bidder had that right—no bidder had even requested it. For good reason. Armed with the

information from Arena’s lenders, W&T would have gained a tremendous and unfair advantage.

       33.     If W&T (unlike the other bidders) were allowed to speak with the lenders, W&T

also would be in the unique and dangerous position of being able to disrupt the marketing and

restructuring process—as when it allegedly tendered to acquire a portion of the first lien debt from

the Debtors’ lenders on or about August 17, 2020. Arena’s lenders had not agreed to forego their

right to credit bid and reserved the right to acquire Arena’s assets. If W&T were provided with the

opportunity to engage directly with the lenders, then different bidders may have the opportunity to

collude, driving down stakeholder recoveries. The prospect that bidders may collude and delay the

sale process was particularly significant for Arena in light of its limited liquidity (which would



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prevent Arena from extending the sales process further). Arena recognized it may need to file for

chapter 11 to consummate a sale and the risk of collusion would undermine the integrity of the

process. These concerns have become more salient since that time because of the weakness in the

oil and gas E&P market. There is no guarantee that another sale will be possible if the plan sponsor

San Juan Offshore, LLC’s (“the Plan Sponsor”) acquisition does not succeed. Arena needed to

maintain control over the sales process to ensure no bidder disrupted it. A few hours after Evercore

received W&T’s draft, Evercore wrote back to W&T: “This mark-up is not acceptable for this

process and is not in line with A&D processes in general. W&T will not receive any special

treatment in this regard. Please execute the previous reversion if you wish to participate in the

process.” Ex. 6 at 4.

       34.     Nonetheless, Evercore did not abandon hope of reaching a confidentiality

agreement with W&T. Two days later, on May 28, Evercore tried once again to reach a resolution,

writing to W&T: “As we start to schedule Dataroom Presentations, we wanted to reach out to see

if we can get your team involved in the process. Please let us know if there is any room to negotiate

in regards to the prior version of the NDA you submitted to the company.” Id. at 3. Evercore even

offered “another call with the Arena’s General Counsel.”




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        35.      W&T’s general counsel responded with an ultimatum:




Id. at 2.

        36.      Evercore explained again on May 28 that this “process is no different than any other

A&D or M&A process you have participated in and as such, this NDA does not allow you to

communicate with a seller’s lenders.” Evercore emphasized that it hoped to “get aligned on a

regular-way NDA.” Id. at 2.

        37.      W&T would not budge, insisting on special treatment: “We discussed this

restriction at length internally and concluded that we must independently engage with Arena’s

lenders as a matter of due diligence.” Id. at 1. In a May 31 email, Evercore held firm, explaining

that it “cannot give W&T, or any other potential bidder, access to stakeholders at this stage,” and

welcomed “W&T’s participation in the process subject to a regular-way NDA.” Id.

        38.      Evercore did not hear from W&T again until early July.

E.      31 Group breaches the Confidentiality Agreement and provides W&T with information
        from the virtual data room

        39.      On June 29, 2020, Evercore received a proposed bid from 31 Group, the company

that was not among the 900 to receive the marketing teaser and that had contacted Evercore, signed


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Arena’s standard form confidentiality agreement, and accessed and downloaded the contents of

Arena’s virtual data room. Ex. 7. 31 Group’s president Ken Goggans emailed 31 Group’s proposal

letter to Evercore, which said that “cash consideration for 100% of the Company and its

subsidiaries[’] assets would be one hundred fifty-six million dollars ($156,000,000.00).” Id. at 1.

The proposal letter identified as sources of financing: “31 Group, MSD and Sculptor Capital.”

31 Group explained that its “vision” was to “achieve long term strategic growth through

development projects in the existing GOM blocks,” and that its “expectation” was that

“management and employees will continue to operate the assets.” Id. 31 Group informed Arena

that “Transaction documents have been reviewed by Locke Lord counsel” and that “Locke Lord

will act as counsel for 31 Group in this transaction.” Id.3

       40.     31 Group’s proposal omits any mention of W&T.

       41.     31 Group was not known to Evercore before this process.

       42.     There is limited public information about 31 Group and its president Goggans.

Navigating to a website (www.31grp.com) that the Confidentiality Agreement identifies as 31

Group’s email domain name prompts internet browser security warnings about its expired or

invalid security certificate. Continuing on to the website, according to Microsoft Edge, is “not

recommended.”




3
 Locke Lord LLP is W&T’s long-time counsel. Locke Lord partner Philip Eisenberg participated
on behalf of W&T in the first day hearings in this bankruptcy court proceeding. Last week on
August 23, Arena’s counsel at Susman Godfrey LLP sent a demand letter to W&T through Mr.
Eisenberg. W&T’s additional counsel at White & Case LLP responded and did not cc Locke Lord.

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          43.   Other oddities emerged. The Confidentiality Agreement § 14 says 31 Group should

receive notice at the following address:




Ex. 1 at 4. On Sunday August 23, 2020, Arena emailed 31 Group’s Goggans a demand letter to

“energy@31grp.com.” On Monday August 24, Arena hired a messenger to hand deliver a copy of

the demand letter at the notice address. The messenger reported that 31 Group was no longer

located there. Ex. 9 ¶¶ 2-5.

          44.   The messenger reported that the space 31 Group had apparently vacated was a

coworking space. 31 Group’s lessor makes the coworking space available for negotiable terms so

that tenants can enjoy “all the perks of an office without the hassle of running one”:




Ex. 10.




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         45.   Arena’s messenger called the phone number 31 Group provided in the

Confidentiality Agreement’s notice provision and learned that 31 Group’s office “had been closed

and their mail transferred to an address she gave as 3021 Ridge Court, Rockwall, Texas.” Ex. 9 ¶

5. The messenger found that “this address is not a business office for 31 Group, but a private

mailbox firm and US Postal Service contract unit called Harbor Mail.” Id. ¶ 5. 31 Group’s

Rockwall “address” is shown below (in a Google Maps screenshot) located in a strip mall, adjacent

to a “Gold & Silver Exchange” and bookended by a pain clinic and a drug store called “Super

Drug”:




Ex. 11. This is not quite what one expects of a company purporting to propose a $156 million oil

and gas transaction.

         46.   Back on July 7, 2020, Arena’s financial advisor Evercore already had obtained

some insight into the actual nature of 31 Group’s involvement in the bid process. 31 Group set up

a call with Evercore and, for some not previously disclosed reason, 31 Group also had W&T on

the call. Evercore learned during the call that 31 Group and W&T planned to submit a joint bid.

Evercore also learned during the call that 31 Group (and it seemed W&T) had done little diligence

on Arena’s for sale assets. 31 Group had previously declined an early June opportunity to receive

a virtual data room presentation and W&T had not signed a confidentiality agreement with Arena

and hence could not have had access to the data room. Ex. 12 at 1. But W&T revealed during the




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July 7 call that 31 Group had provided W&T with the confidential information inside the data

room.

        47.    This was not necessarily alarming because the form of confidentiality agreement

signed by 31 Group (and by the other 19 potential bidders) allows them to share information with

a “Representative” as long as the representative has “agreed in writing prior to being given access

to the Confidential Information to be bound by the terms of this Agreement to the same extent as

if they were parties hereto.” Ex. 1 at 2.

        48.    On July 8, 31 Group and W&T submitted a joint bid for “$141,231,000 US, payable

in cash at closing” subject “to the completion by Buyer of satisfactory due diligence.” Ex. 13 at 2–

3. 31 Group’s president Goggans explained in the bid’s cover letter that “We have the cash,

bonding and the ability to move very quickly with Locke Lord to meet the end of the month

deadline.” Id. at 1. Then 31 Group went silent and W&T took over.

F.      W&T continues participating in the bidding process while refusing to sign a confidentiality
        agreement

        49.    After 31 Group’s submission of the July 8 joint bid, W&T took over discussions

with Evercore. On July 14, W&T’s CEO Tracy Krohn emailed Evercore to “be perfectly clear”

that W&T could proceed without 31 Group: “We still intend to consummate this transaction along

with 31 Group, but in the event there is any issue with their ability to finance, we are able to finance

the entire transaction.” Ex. 14. Evercore informed W&T on July 14 that a different stalking horse

(the Plan Sponsor) was the lead bidder.

        50.    On July 28, W&T submitted an offer for Arena’s assets, this time without 31 Group,

for $101 million, and W&T described its offer as “firm” and “not conditioned (as our prior one

was) on any due diligence other than a routine, physical inspection of the assets.” Ex. 15 at 1. That

day, July 28, Evercore spoke with W&T, commenced diligence on W&T’s offer, and that week


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corresponded with W&T’s lead bank Toronto Dominion and W&T’s surety McGriff. Those

communications revealed that even if W&T could finance the $101 million bid, W&T would be

left with limited liquidity such that W&T would lack the finances to manage additional collateral

or line of credit calls from the sureties. Evercore learned that W&T lacked a commitment to replace

Arena’s surety bonds.

           51.   On July 29, Arena’s transaction committee through its advisors emailed W&T that

Arena “is prepared to engage with W&T Offshore on an expedited basis regarding its bid”

notwithstanding “W&T Offshore’s prior election not to execute a nondisclosure agreement.” Ex.

16 at 3.

           52.   On July 31, Evercore on behalf of Arena asked W&T’s CEO Tracy Krohn and EVP

William Williford “can you please send the joinder to the 31 Group NDA that W&T signed.” Id.

           53.   W&T responded that day and admitted “we were never provided or signed a

joinder.” Id. W&T had not signed a confidentiality agreement with Arena and now W&T revealed

it had not signed a joinder to 31 Group’s confidentiality agreement. W&T thus admitted that it had

improperly obtained Arena’s confidential information:




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Id. W&T admitted that it improperly had obtained access to Arena’s confidential information—

apparently indirectly from 31 Group—and W&T brazenly asked for “direct access to the data

room ASAP.” (Emphasis added). Arena’s advisors responded in less than two hours by sending

W&T a confidentiality agreement for the Arena sales process and instructing that “In order to gain

access to the VDR [virtual data room], please execute the attached document.” Ex. 17 at 1. W&T

did not respond. Evercore followed up by email on August 1. Id. W&T said it would send a redline.

Id. W&T’s redline sought to provide W&T the exclusive opportunity to speak with Arena’s

lenders—an opportunity the other potential bidders did not have and that Arena’s form

confidentiality agreement prohibited. Ex. 18 at 4-5.

       54.     Arena, through its advisors, continued in August to try to get W&T to sign a

confidentiality agreement that protected Arena’s confidential business information and that was

substantially similar to the confidentiality agreement that 31 Group and the other 19 potential

bidders had signed.

       55.     Arena tried to reach a compromise, even offering to allow W&T to speak to Wells

Fargo, the bank that served as the administrative agent for Arena’s lenders under its reserve-based

loan facility. Ex. 19 at 1, 13-14. Arena had not provided this access to other bidders. W&T was

not satisfied and, on August 3, W&T rejected this compromise offer because “we are not concerned

with speaking to just Wells—we want to find out what each member of the banking group thinks

of our proposal.” Ex. 20 at 2.

       56.     On August 3, W&T complained about “key issues” it had with the process. W&T

expressed concern that “the data room included a few pages (pages 22–25) that appear to excerpt

from the 2019 financials (as the pages titled ‘Notes to Financial Statements’ and include full year

2019 data) but the rest of the 2019 audited financials were not included.” Id. at 1-2. W&T’s



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“concern” confirms that W&T improperly accessed and improperly (and apparently thoroughly)

reviewed Arena’s confidential information in the virtual data room. W&T did so without authority,

without a confidentiality agreement, and without a joinder to 31 Group’s or anyone else’s

confidentiality agreement.

        57.     Negotiations with W&T stalled after August 3. On August 17, W&T tried to go

around Evercore by submitting a tender offer directly to Arena’s lenders. The lenders did not

accept W&T’s offer, and on August 19, 2020, the RSA was executed among San Juan Offshore,

Arena, and a sufficient contingent of Arena’s first lien lenders.

G.      Arena’s attorneys demand W&T and 31 Group return Arena’s confidential information and
        destroy any copies.

        58.     On August 23, Arena’s counsel at Susman Godfrey LLP emailed letters to each of

31 Group and W&T.

        59.     In its letter to 31 Group, Arena asked 31 Group to certify in writing by 12 noon ct

on Monday August 24 that 31 Group would “within no more than five business days”—the amount

of time allowed by Confidentiality Agreement § 4—return the confidential information it obtained

from Arena and destroy any “Derivatives” as defined in the Confidentiality Agreement, which

consist of notes and other materials 31 Group made based on Arena’s confidential information.

Arena asked 31 Group to “provide Arena with an itemized list sufficient to identify all such items.”

Ex. 21 at 1. Arena asked 31 Group to cease use of Arena’s confidential information and put a

litigation hold in place. Id. at 2.




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       60.     On August 24—the same day Arena’s messenger sought to hand deliver a copy of

the emailed letter—31 Group provided the enigmatic and noncommittal response below (Ex. 23)

that “I do not understand this request since Arena is now in bankruptcy.”




       61.     In its August 23 letter to W&T, Arena asked W&T to return or destroy the

confidential Arena information that W&T obtained from or through 31 Group, destroy all notes

and other materials derived from Arena’s confidential information, cease use of Arena’s

confidential information, and implement a litigation hold. Ex. 22 at 2-3. Arena noted that it

“protected and intends to continue to protect the integrity of the restructuring process” and would

“not provide W&T with its confidential information unless and until W&T (like the Plan Sponsor

and 19 other potential bidders) signs the substantially identical confidentiality agreement” that

Arena attached to the letter. Id. at 3. Arena also noted, consistent with § 9.02 of the August 19,

2020 Restructuring Support and Plan Sponsor Agreement, that Arena and the Transaction

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Committee “are not soliciting a proposal from W&T” but that Arena “has been and remains willing

to consider unsolicited proposals from W&T and others.” Id.

       62.     On August 24 at 8:29 pm, W&T’s counsel at White & Case LLP (not Locke Lord

LLP) emailed back redlined proposed changes to the confidentiality agreement including what

W&T already knew was the unacceptable deletion of § 8 which restricted communication with

“any contractor, customer, lender or creditor” of Arena. W&T’s counsel claimed in its email that

“while W&T is happy to protect the Company’s confidential information, this agreement should

not limit W&T’s ability to discuss any proposal it may submit with the Company’s creditors and

other stakeholders.” Ex. 24 at 1.

       63.     On August 26, Arena’s bankruptcy counsel at Kirkland & Ellis LLP wrote W&T

and again explained to W&T that Arena was willing to consider an unsolicited bid but W&T could

not contact “creditors who are party to the RSA” and which are “contractually prohibited from

engaging” in discussions with W&T. Ex. 25 at 4. Arena could not agree to a “form of a non-

disclosure agreement that could potentially permit a third party to circumvent the value-

maximizing settlement reflected in the RSA.” Id. at 4-5.

       64.     In its August 23 letter to W&T, Arena gave W&T until August 24 at 12 noon to

certify in writing W&T’s destruction of Arena’s confidential information and derivative materials,

certify that W&T and its affiliates immediately “ceased any and all use of Arena’s confidential

information,” and certify that W&T had put a “litigation hold” in place. W&T did not meet this

deadline. Ex. 22 at 2-3. W&T did not (and as of August 28 at 5 pm still has not) provided these

or similar certifications or assurances.

       65.     In its August 23 letter, Arena gave 31 Group until August 24 at 12 noon to certify

in writing that 31 Group will (by August 28 at 5 pm) return Arena’s confidential information to



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Arena and destroy all derivative materials, provide Arena with an itemized list of all such

materials, certify that “31 Group and each of its ‘Representatives’” immediately “ceased any and

all use of Arena’s confidential information,” and certify that 31 Group had put a “litigation hold”

in place. Ex. 21 at 1-2. 31 Group did not (and as of August 28 at 5 pm still has not) provided these

or similar certifications or assurances; it simply wrote that it had “destroyed all Derivatives.”

                                               IV.
                                         Causes of Action

                             Count 1 – Breach of Contract (31 Group)

       66.     Arena incorporates the allegations above.

       67.     Confidentiality Agreement § 19 provides that the agreement “shall be governed by,

and construed in accordance with, the laws of the State of Texas, without giving effect to principles

of conflict of law.” Ex. 1 at 5. The Texas Supreme Court held in Pathfinder Oil & Gas, Inc. v.

Great Western Drilling, Ltd., 574 S.W.3d 882, 890 (Tex. 2019), that the elements of a breach of

contract claim are: “(1) a valid contract exists; (2) the plaintiff performed or tendered performance

as contractually required; (3) the defendant breaches the contract by failing to perform or tender

performance as contractually required; and (4) the plaintiff sustained damages due to the breach.”

       68.     The May 22, 2020 Confidentiality Agreement is a valid and binding contract.

31 Group is bound by its terms.

       69.     Arena fully performed the contract and provided 31 Group with access to the

confidential information in the virtual data room. Ex. 3.

       70.     31 Group breached the Confidentiality Agreement by providing W&T with Arena’s

confidential information covered and protected by the Confidentiality Agreement and to which 31

Group itself obtained access by executing this agreement. 31 Group breached Confidentiality

agreement § 1(b) by disclosing Arena’s confidential information to W&T, by providing W&T


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access to Arena’s confidential information, and by providing W&T access to the virtual data room.

31 Group breached § 4 when 31 Group failed per Arena’s August 23 request to “promptly, but in

no more than five (5) business days, return” Arena’s confidential information, destroy all

“Derivatives,” and provide written certification that it had complied. 31 Group did not return any

materials or provide a written certification of compliance with Arena’s request by August 28 at 5

pm.

       71.     As a proximate result of 31 Group’s breaches, Arena has suffered and continues to

suffer damages, including damages resulting from the loss of its confidential data and sensitive

confidential competitive information. 31 Group’s delivery and provision of Arena’s confidential

information to W&T caused Arena substantial harm. W&T is one of Arena’s direct competitors.

       72.     In accordance with Confidentiality Agreement § 21 and as allowed by law, Arena

seeks reimbursement of all losses, costs, and expenses caused by 31 Group’s disclosure. 31 Group

agreed in § 21 to “indemnify and hold harmless” Arena “from and against any damage, claim, loss,

obligation, liability, penalty, cost or expenses (including reasonable fees and disbursements of

counsel and the cost of enforcing this indemnity) arising out of or resulting from” the improper

disclosure of confidential information subject to the Confidentiality Agreement or “any other

breach of, or failure to comply with, the terms” of the Confidentiality Agreement. Ex. 1 at 6.

       73.     Attorney’s Fees. Arena has retained counsel and is entitled to recover its reasonable

attorney’s fees and expenses under TCPRC § 38.001(8) and Chapter 38. Arena presents its claim

for attorney’s fees to 31 Group in accordance with TCPRC § 38.002. Confidentiality Agreement

§ 15 also entitles Arena to attorney’s fees as it provides that 31 Group “shall reimburse [Arena]

for any costs incurred including, but not limited to, attorneys’ fees, costs of court, witness fees and

expenses, claims, demands or liabilities arising directly or indirectly out of any such breach or



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anticipated or threatened breach.” Ex. 1 at 5. Confidentiality Agreement § 21 also provides that

31 Group “agrees to reimburse [Arena] promptly upon demand for all out of pocket costs and

expenses reasonably incurred” by Arena “in the enforcement of its rights hereunder (including,

without limitation, reasonable fees and disbursements of counsel).” Ex. 1 at 6.

       74.      Arena is entitled to injunctive relief, including the return of the confidential

information.

                Count 2 – Tortious Interference with an Existing Contract (W&T)

       75.      Arena incorporates the allegations above.

       76.      The Texas Supreme Court held in Prudential Insurance Co. of America v. Financial

Review Services, Inc., 29 S.W.3d 74, 77 (Tex. 2000), that the elements of tortious interference with

an existing contract are: “(1) an existing contract subject to interference, (2) a willful and

intentional act of interference with the contract, (3) that proximately caused the plaintiff’s injury,

and (4) caused actual damages or loss.”

       77.      Arena’s Confidentiality Agreement with 31 Group is an existing contract subject to

interference.

       78.      W&T willfully and intentionally interfered with the Confidentiality Agreement by

among other things obtaining Arena’s confidential information from 31 Group in violation of that

agreement. W&T knew 31 Group had a confidentiality agreement with Arena governing

31 Group’s access to the data room. Arena’s advisor Evercore had provided W&T with and asked

W&T to sign a substantially identical confidentiality agreement, and Evercore explained to W&T

that W&T only could gain access to Arena’s virtual data room and confidential information if

W&T and Arena signed a confidentiality agreement. W&T is sufficiently sophisticated to already

know that it had to be bound by a confidentiality agreement in order to gain access to Arena’s data

room and confidential information. After Evercore learned that W&T improperly and without

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authority had accessed Arena’s data room and confidential information, Evercore on July 31 asked

W&T to send the joinder to 31 Group’s NDA/confidentiality agreement that W&T signed. Ex. 16

at 1. But W&T did not do so and admitted that it had not signed a joinder.” Id.

       79.     W&T knew 31 Group was not permitted to send W&T the confidential information

and knew that W&T had improperly obtained access to Arena’s confidential information. W&T

willfully and intentionally obtained access to and reviewed Arena’s confidential information, and

even complained on August 3 that “the data room included a few pages” of 2019 financials but not

all. Ex. 20 at 1. This of course further confirms that W&T accessed and closely reviewed the

confidential information in Arena’s virtual data room knowing that it was not authorized and that

doing so violated 31 Group’s Confidentiality Agreement. Even though Arena provided W&T with

multiple opportunities to sign a confidentiality agreement that was substantially identical to what

the 20 other potential bidders had signed, W&T failed to do so.

       80.     As a proximate result of W&T’s willful and intentional interference, Arena has

suffered and continues to suffer damages, including damages resulting from the loss of its

confidential data and sensitive competitive information. W&T is one of Arena’s direct

competitors.

       81.     Arena seeks and is entitled to recover exemplary damages from W&T as a result of

W&T’s wanton and malicious conduct. W&T acted knowingly and intentionally when it brazenly

accessed, reviewed, and took Arena’s confidential information from 31 Group after W&T’s own

negotiations with Arena over a confidentiality agreement failed. W&T belatedly admitted that it

had taken Arena’s confidential information without being bound by a confidentiality agreement,

and did so after failing for weeks to disclose its access and misconduct. W&T has refused to sign

a confidentiality agreement with Arena substantially similar to what the other bidders signed W&T



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has refused to return the information to Arena, refused to destroy its copies and derivative

materials, and refused to provide Arena with the requested certifications and assurances.

        82.     Arena is entitled to injunctive relief, including the return of the confidential

information.

                            Count 3 – Conversion (31 Group and W&T)

        83.     Arena incorporates the allegations above.

        84.     The Texas Supreme Court held in Green International, Inc. v. Solis, 951 S.W.2d

384, 391 (Tex. 1997), that conversion is the “wrongful exercise of dominion and control over

another’s property in denial of or inconsistent with his rights.” The Texas Supreme Court held in

United Mobile Networks, L.P. v. Deaton, 939 S.W.2d 146, 147-48 (Tex. 1997), that damages for

conversion consist of the “amount necessary to compensate the plaintiff for the actual losses or

injuries sustained as a natural and proximate result of the defendant’s conversion” and a

“conversion should not unjustly enrich either the wrongdoer or the complaining party.” Exemplary

damages are available for conversion where the plaintiff proves “that the defendant acted with

malice.” Green International, Inc., 951 S.W.2d at 391.

        85.     Arena had valid title and right to possess the information contained in the data

room, and 31 Group agreed in Confidentiality Agreement § 4 that Arena “retains all rights, titles,

and interests in and to” the confidential information. Ex. 1 at 2.

        86.     W&T had no lawful right to obtain the information Arena had in the data room, and

wrongfully exercised dominion and control over Arena’s property when W&T improperly

obtained the property from 31 Group. In an August 23, 2020 letter, Arena demanded that W&T

send to Arena or destroy Arena’s confidential information and cease using it. Ex. 22 at 2. As of

the filing of this complaint, W&T has not agreed to send the confidential information to Arena,

destroy it, or cease using it.

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       87.     31 Group lost its lawful right to obtain Arena’s confidential information when

Arena requested its return or destruction on August 23. Ex. 21. Confidentiality Agreement § 4

gave 31 Group five business days, until August 28 at 5 pm, to return or destroy Arena’s

confidential information. Ex. 1 at 2. 31 Group did not return Arena’s confidential information or

provide written confirmation that it had done so, as Arena requested and Confidentiality

Agreement § 4 requires. Ex. 1 at 2. 31 Group also did not tell Arena that it had retrieved the

confidential information it gave to its one-time co-bidder W&T. 31 Group’s continued dominion

and control over Arena’s property after August 28 at 5 pm is wrongful.

       88.     W&T’s and 31 Group’s wrongful exercise of dominion and control over Arena’s

property causes Arena substantial damages and unjustly enriches W&T. W&T is a direct

competitor of Arena’s.

       89.     Arena seeks and is entitled to recover exemplary damages from W&T and 31 Group

as a result of 31 Group’s and W&T’s wanton and malicious conduct. 31 Group acted knowingly

and intentionally when it violated its obligations under the Confidentiality Agreement and

provided confidential information to W&T and failed to return the confidential information in

31 Group’s possession within five business days. W&T acted knowingly and intentionally when

it brazenly accessed, reviewed, and took Arena’s confidential information from 31 Group after

W&T’s own negotiations with Arena over a confidentiality agreement failed. W&T belatedly

admitted that it had taken Arena’s confidential information without being bound by a

confidentiality agreement, and did so after failing for weeks to disclose its access and misconduct.

W&T has refused to sign a confidentiality agreement with Arena substantially similar to what the

other bidders signed W&T has refused to return the information to Arena, refused to destroy its




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copies and derivative materials, and refused to provide Arena with the requested certifications and

assurances.

       90.     Arena is entitled to injunctive relief, including the return of the confidential

information.

       91.     Arena is entitled to reimbursement of attorneys’ fees and costs under the

Confidentiality Agreement.

               Count 4 – Misappropriation of Trade Secrets (31 Group and W&T)

       92.     Arena incorporates the allegations above.

       93.     Arena seeks and is entitled to relief under the Texas Uniform Trade Secrets Act

(“TUTSA”), TCPRC §§ 134A.001, et seq. Arena is a claimant under TUTSA § 134A.002(1).

       94.     Information contained in Arena’s virtual data room that Arena agreed to provide to

31 Group under the Confidentiality Agreement constitutes valuable trade secrets owned by Arena,

from which Arena derives significant actual and potential economic value from not being generally

known to, and not being readily ascertainable through proper means by, other persons who can

obtain economic value from its disclosure and/or use, such as Arena’s competitors, including

W&T.

       95.     Arena has relied and relies for its commercial success on the confidential and

proprietary information that it has developed over the last 20 years. Arena has invested and

continues to invest significant sums into geological and geophysical mapping, petroleum

engineering, proprietary exploration and drilling methods and strategy, restricted and highly

valuable seismic data, reserve and field studies, and production, price and reserves information,

many of which Arena made available to 31 Group under the Confidentiality Agreement.




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       96.     Arena’s trade secrets are valuable to third parties because the information

developed by Arena is not generally known and reflects Arena’s investment of time and resources.

These trade secrets are not readily ascertainable through proper means

       97.     Arena makes reasonable efforts to protect the confidentiality and secrecy of these

trade secrets, including by requiring participants in Evercore’s sales process to execute

Confidentiality Agreements, and by refusing to provide access to its virtual data room to potential

bidders like W&T that refused to execute one.

       98.     Arena’s valuable competitive and proprietary information constitutes “trade

secrets” within the meaning of TUTSA § 134A.002(6).

       99.     31 Group and W&T knowingly acquired, disclosed and used Arena’s trade secrets

using improper means, without Arena’s knowledge or consent and in a manner prohibited by

TUTSA § 134A.002(3), including by breach or inducement of a breach of a duty to maintain

secrecy and to limit use of information in Arena’s virtual data room.

       100.    31 Group’s and W&T’s misappropriation injured Arena and undermined its

business. 31 Group and W&T have the ability to derive substantial economic value from the use

of Arena’s secrets. As a result of 31 Group’s and W&T’s misappropriation, Arena has been injured

and suffered damages. 31 Group and W&T are liable under TUTSA for Arena’s actual damages

and the unjust enrichment caused by their misappropriation.

       101.    W&T has failed and refused to enter into a substantially similar confidentiality

agreement with Arena and failed to provide the requested certifications and assurances. 31 Group

has refused to return and certify the destruction of all material it downloaded from the virtual data

room and failed to provide the requested certifications and assurances. 31 Group’s and W&T’s

conduct constitutes the threat of ongoing misappropriation, based on the substantial risk that



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31 Group and W&T will continue to use Arena’s trade secrets for their own economic advantage

and to compete with Arena. 31 Group’s and W&T’s actual and threatened misappropriation of

trade secrets is a continuing wrong.

       102.    This ongoing misappropriation entitles Arena to injunctive relief under

§ 134A.003.

       103.    Arena is entitled to recover damages for misappropriation and for unfair

competition through that misappropriation, including the actual loss and unjust enrichment.

       104.    31 Group’s and W&T’s conduct is willful and malicious, and they have acted in

conscious disregard of Arena’s rights, warranting an award of exemplary damages and attorneys’

fees. See § 134A.004, 134A.005. 31 Group’s and W&T’s misappropriation was intentional and

results from the conscious disregard of Arena’s rights.

       105.    Arena seeks permanent injunctive relief under TUTSA § 134A.003.

       106.    Unless restrained and enjoined by this Court, Arena will sustain immediate and

irreparable damage for which it has no adequate remedy at law. Arena asks for a preliminary and

permanent injunction barring 31 Group and W&T from any further acts of misappropriation.

       107.    Arena seeks and is entitled to recover its damages, attorneys’ fees, costs and interest

for 31 Group and W&T’s violation.

                            Count 5 – Turnover (31 Group and W&T)

       108.    Arena incorporates the allegations above.

       109.    The United States Bankruptcy Code provides at 11 U.S.C. § 542(a) that “an entity,

other than a custodian, in possession, custody, or control, during the case, of property that the

trustee may use, sell, or lease under section 363 of [the Bankruptcy Code], or that the debtor may

exempt under section 522 of [the Bankruptcy Code], shall deliver to the trustee, and account for,



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such property or the value of such property, unless such property is of inconsequential value or

benefit to the estate.”

        110.    31 Group and W&T are non-custodial entities under § 542(a) of the Bankruptcy

Code.

        111.    Section 541 of the Bankruptcy Code provides that a debtor’s estate is comprised of,

subject to certain exceptions, “all legal or equitable interests of the debtor as of the commencement

of the case.” 11 U.S.C. § 541(a)(1).

        112.    Arena’s confidential information in W&T’s and 31 Group’s possession constitutes

property of Arena’s bankruptcy estate as of the petition date pursuant to Bankruptcy Code § 541(a).

W&T and 31 Group have refused to return Arena’s confidential information despite Arena’s

requests.

        113.    W&T’s and 31 Group’s refusal to return Arena’s confidential information has

caused and will continue to cause significant harm to Arena’s estate.

        114.    Arena seeks and is entitled to turn over of Arena’s confidential information that

31 Group and W&T obtained directly or indirectly from the virtual data room including the

information they obtained or accessed from Arena’s virtual data room as well as any notes, copies,

summaries, analyses, studies, forecasts, or other materials, information, or conclusions derived

from Arena’s information.

                                             V.
      Application for Temporary Restraining Order, Preliminary, and Permanent Injunction

        115.    Arena incorporates the allegations above.

        116.    In accordance with FRCP 65, which is incorporated in Bankruptcy Rule 7065,

Arena requests entry of a temporary restraining order, followed by the entry of a preliminary

injunction and a permanent injunction to (1) enjoin W&T and 31 Group from using in any way


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Arena’s confidential information including the information they obtained or accessed from

Arena’s virtual data room as well as any notes, copies, summaries, analyses, studies, forecasts, or

other materials, information, or conclusions derived from Arena’s information, (2) require W&T

and 31 Group to return and send to Arena all confidential information that 31 Group and W&T

obtained directly or indirectly from the virtual data room and destroy any notes, copies, summaries,

analyses, studies, forecasts, or other materials, information, or conclusions derived from Arena’s

information, (3) require W&T and 31 Group to cease and desist from any and all use of Arena’s

confidential information, (4) require W&T and 31 Group to certify in writing to Arena that they

have complied with (1-3) above, and (5) require W&T and 31 Group to identify any person or

entity to whom they have disclosed the information contained in the data room or any notes, copies,

summaries, analyses, studies, forecasts, or other materials, information, or conclusions derived

from Arena’s information.

A.     Without an injunction, Arena will suffer irreparable injury that is actual and imminent

       117.    Arena will suffer an irreparable injury that is actual and imminent without an

injunction. 31 Group has shown that it is willing to share Arena’s confidential information with

Arena’s competitors, notwithstanding the Confidentiality Agreement it signed. Arena incorporates

here ¶¶ 16-22 above in which Arena discusses the irreparable nature of the loss Arena will suffer

if competitors (like W&T) have access to Arena’s confidential information.

       118.    As a direct Arena competitor, W&T’s possession of Arena’s proprietary and

confidential information will immediately and irreparably harm Arena by permanently

diminishing Arena’s competitive advantage and the value of Arena’s assets. Much of the

information in the data room that 31 Group and W&T now possess is unique and irreplaceable,

including a confidential memorandum about Arena’s proprietary drilling method and OGO and

NESI seismic data regarding certain plays that no other driller in the Gulf has. Arena has spent

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decades and millions of dollars developing these proprietary methodologies. Arena will never be

able to recover the competitive advantage it currently has in the Gulf if W&T puts Arena’s

confidential information to use in the field. Because W&T has refused to sign a confidentiality

agreement with Arena, Arena has no assurance or protection, and W&T is unrestrained from using

Arena’s information and may already be doing so. That is a major and dangerous departure from

the last peaceable status quo.

       119.    31 Group recognized and agreed in Confidentiality Agreement § 21 that

31 Group’s “breach of, or failure to comply with” the Confidentiality Agreement would result in

Arena being “irreparably injured.” Ex. 1 at 6. This recognition and admission bears on W&T’s

misconduct as well since W&T had knowledge of the Confidentiality Agreement and this

provision—W&T had reviewed and redlined a substantially identical confidentiality agreement—

and still induced 31 Group to breach the Confidentiality Agreement and cause Arena to suffer

irreparable harm.

B.     Arena has no adequate remedy at law

       120.    Arena has no adequate remedy at law. It is difficult if not impossible to calculate

an amount of damages that fully can compensate Arena for the loss of its competitive advantage

in the Gulf and the loss of its proprietary methodology and unique data. We may never know all

the improper uses W&T makes of Arena’s confidential information. There is also no remedy at

law that could compensate Arena for the harm that will be caused if Arena has to assume going

forward that its competitors have access to its information and could use it to outbid Arena for

properties. Arena will need to include an unquantifiable premium on every bid going forward if

W&T and its other competitors have access to its information. The full effects of 31 Group’s

unauthorized release and W&T’s unauthorized access to Arena’s confidential information cannot

be known or quantified.

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       121.    31 Group acknowledged in the Confidentiality Agreement that there is no adequate

remedy at law for its breach. 31 Group acknowledged and agreed in Confidentiality Agreement §

15 that “neither damages nor an account of profits would be an adequate remedy for any breach”

by 31 Group and “that, accordingly, [Arena] shall be entitled to seek equitable relief including, but

not limited to, injunctive relief and specific performance, without proof of actual damages, for any

breach or anticipated or threatened breach.” Ex. 1 at 5. 31 Group agreed in Confidentiality

Agreement § 21 that “money damages are an inadequate remedy for an actual or threatened

breach” of the Confidentiality Agreement “because of the difficulty of ascertaining the amount of

damage that will be suffered by [Arena] in the event of any such breach or failure to comply.” Ex.

1 at 6. 31 Group also agreed in § 21 that “Therefore, [31 Group] agrees to the granting of specific

performance of this Agreement and injunctive or other equitable relief in favor of [Arena] as a

remedy for any such breach or failure to comply.” Ex. 1 at 6. This recognition and admission bears

on W&T’s misconduct as well since W&T had knowledge of the Confidentiality Agreement and

this provision—W&T had reviewed redlined a substantially identical confidentiality agreement—

and still induced 31 Group to breach the Confidentiality Agreement and cause Arena to suffer

irreparable harm.

C.     Arena has a substantial likelihood of success on the merits

       122.    Arena has a substantial likelihood of success on the merits on its claims. 31 Group

breached the Confidentiality Agreement when it shared information protected by the

Confidentiality Agreement in violation of § 1(b) and refused to comply with § 4. W&T interfered

with 31 Group’s Confidentiality Agreement when it go t Arena’s confidential information and

obtained access to the information in Arena’s virtual data room. W&T converted Arena’s

confidential information when it wrongfully acquired it from 31 Group and then refused to give it

back to Arena and destroy its copies and notes. W&T admitted on July 31 that it had acquired

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Arena’s confidential information without signing an agreement to protect the information’s

confidentiality. Ex. 16 at 1.

D.        The balance of hardships weighs in Arena’s favor

          123.   The balance of hardships weighs heavily in Arena’s favor. W&T and 31 Group

engaged in tortious misconduct and wrongfully obtained and used Arena’s confidential

information. An injunction is necessary to ensure the return of Arena’s confidential information to

Arena, to ensure that those without authority cease and desist from using Arena’s confidential

information, and to provide Arena with information Arena needs to ensure no further improper

use. W&T and 31 Group have no interest or right to use another company’s confidential

information that they have wrongly obtained and have misused. The injunction Arena requests will

not harm W&T, 31 Group, or any third parties.

E.        An injunction will not disserve the public interest

          124.   The injunction Arena requests will not disserve the public interest. Arena seeks

return of its confidential information and appropriate protective certifications in light of 31

Group’s and W&T’s misconduct. The public interest supports protecting confidential information

and property rights from parties that breach contracts and convert and misuse the property of

others.

F.        No Bond is Required

          125.   Pursuant to Bankruptcy Rule 7065, Arena requests that no bond or security be

required in connection with the issuance of the requested temporary restraining order.

          126.   31 Group agreed in Confidentiality Agreement § 21 that it “waives any requirement

for the securing or posting of any bond in connection with” a request for injunctive relief related

to 31 Group’s “actual or threatened breach” of the Confidentiality Agreement. Ex. 1 at 6. Even so,



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and if the Court so requires, Arena is willing to post a bond to obtain the temporary restraining

order and preliminary injunction.

                                               VI.
                                       Conditions Precedent

       127.      All conditions precedent to Arena’s claims for relief have been performed or have

occurred.

                                                 VII.
                                          Prayer for Relief

       128.      Arena asks that the Court:

            a. Set a temporary restraining order hearing, and after the hearing, enter a temporary

                 restraining order against 31 Group and W&T as described above,

            b. set a hearing for a preliminary injunction against 31 Group and W&T, and

            c. after a trial on the merits, issue a permanent injunction against 31 Group and W&T.

       129.      Arena asks that the Court award Arena judgment against 31 Group and W&T for

the following:

            a. Actual, consequential, and exemplary damages,

            b. Prejudgment and post judgment interest,

            c. Court costs,

            d. Reasonable and necessary attorney’s fees, including under Confidentiality

                 Agreement §§ 15 and 18, and under TCPRC § 38.001(8);

            e. All costs and expenses under Confidentiality Agreement § 21 arising out of or

                 resulting from 31 Group’s breach of the Confidentiality Agreement;

            f. Turn over under 11 U.S.C. § 542(a) of Arena’s confidential information and any

                 notes, copies, summaries, analyses, studies, forecasts or other materials,

                 information, or conclusions derived from the confidential information; and

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           g. All other and further legal and equitable relief to which Arena justly is entitled.

Dated: August 28, 2020

                                                 Respectfully submitted,

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                                      Certificate of Service

I certify that on August 28, 2020, I caused a copy of this document to be served by the Electronic
Case Filing System for the United States Bankruptcy Court for the Southern District of Texas. A
copy of this filing also was e-mailed to W&T’s counsel at White & Case LLP and at Locke Lord
LLP and to 31 Group’s president Ken Goggans at energy@31grp.com to alert them to the existence
of this filing and the relief sought.


                                             /s/ Geoffrey L. Harrison
                                             Geoffrey L. Harrison




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